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 1   Todd M. Friedman (SBN 216752)
     Adrian R. Bacon (SBN 280332)
 2   Meghan E. George (SBN 274525)
 3   LAW OFFICES OF TODD M. FRIEDMAN, P.C.
     21550 Oxnard St., Suite 780
 4   Woodland Hills, CA 91367
 5   Phone: 877-206-4741
     Fax: 866-633-0228
 6
     tfriedman@ toddflaw.com
 7   abacon@ toddflaw.com
 8   mgeorge@toddflaw.com
     Attorneys for Plaintiff
 9
                          UNITED STATES DISTRICT COURT
10
                       NORTHERN DISTRICT OF CALIFORNIA
11                                            ) Case No.
     ABANTE ROOTER AND PLUMBING)
12
     INC, individually and on behalf of all ) CLASS ACTION
13   others similarly situated,               )
14                                            ) COMPLAINT FOR VIOLATIONS
     Plaintiff,                               ) OF:
15                                            )
16          vs.                               )    1.    NEGLIGENT VIOLATIONS
                                                         OF THE TELEPHONE
                                              )          CONSUMER PROTECTION
17
     ACCEL CAPITAL INC, and DOES 1 )                     ACT [47 U.S.C. §227(b)]
18   through 10, inclusive, and each of them, )    2.    WILLFUL VIOLATIONS
                                                         OF THE TELEPHONE
19                                            )          CONSUMER PROTECTION
     Defendant.                               )          ACT [47 U.S.C. §227(b)]
20                                            )    3.    NEGLIGENT VIOLATIONS
                                                         OF THE TELEPHONE
21                                            )          CONSUMER PROTECTION
                                              )          ACT [47 U.S.C. §227(c)]
22                                                 4.    WILLFUL VIOLATIONS
                                              )
                                                         OF THE TELEPHONE
23                                            )          CONSUMER PROTECTION
                                              )          ACT [47 U.S.C. §227(c)]
24
                                              )
25                                            )
26                                            ) DEMAND FOR JURY TRIAL
                                              )
27                                            )
28                                            )


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 1         Plaintiff ABANTE ROOTER AND PLUMBING INC (“Plaintiff”),
 2   individually and on behalf of all others similarly situated, alleges the following
 3   upon information and belief based upon personal knowledge:
 4                              NATURE OF THE CASE
 5         1.     Plaintiff brings this action individually and on behalf of all others
 6   similarly situated seeking damages and any other available legal or equitable
 7   remedies resulting from the illegal actions of ACCEL CAPITAL INC
 8   (“Defendant”), in negligently, knowingly, and/or willfully contacting Plaintiff on
 9   Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection
10   Act, 47. U.S.C. § 227 et seq. (“TCPA”) and related regulations, specifically the
11   National Do-Not-Call provisions, thereby invading Plaintiff’s privacy.
12                              JURISDICTION & VENUE
13         2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
14   a resident of California, seeks relief on behalf of a Class, which will result in at
15   least one class member belonging to a different state than that of Defendant, a New
16   York company. Plaintiff also seeks up to $1,500.00 in damages for each call in
17   violation of the TCPA, which, when aggregated among a proposed class in the
18   thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
19   Therefore, both diversity jurisdiction and the damages threshold under the Class
20   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
21         3.     Venue is proper in the United States District Court for the Northern
22   District of California pursuant to 28 U.S.C. 1391(b) and because Defendant does
23   business within the State of California and Plaintiff resides within the County of
24   Alameda.
25                                       PARTIES
26         4.     Plaintiff, ABANTE ROOTING AND PLUMBING INC. (“Plaintiff”),
27   is a natural person residing in Emeryville, California and is a “person” as defined
28   by 47 U.S.C. § 153 (39).


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 1         5.     Defendant, ACCEL CAPITAL INC. (“Defendant”) is business
 2   lending company, and is a “person” as defined by 47 U.S.C. § 153 (39).
 3         6.     The above named Defendant, and its subsidiaries and agents, are
 4   collectively referred to as “Defendants.” The true names and capacities of the
 5   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 6   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 7   names. Each of the Defendants designated herein as a DOE is legally responsible
 8   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 9   Complaint to reflect the true names and capacities of the DOE Defendants when
10   such identities become known.
11         7.     Plaintiff is informed and believes that at all relevant times, each and
12   every Defendant was acting as an agent and/or employee of each of the other
13   Defendants and was acting within the course and scope of said agency and/or
14   employment with the full knowledge and consent of each of the other Defendants.
15   Plaintiff is informed and believes that each of the acts and/or omissions complained
16   of herein was made known to, and ratified by, each of the other Defendants.
17                              FACTUAL ALLEGATIONS
18         8.     Beginning in or around August 2016, Defendant contacted Plaintiff on
19   Plaintiff’s cellular telephone number ending in -1636, -5903, -6147 in an attempt
20   to solicit Plaintiff to purchase Defendant’s services.
21         9.     Defendant used an “automatic telephone dialing system” as defined
22   by 47 U.S.C. § 227(a)(1) to place its call to Plaintiff seeking to solicit its services.
23         10.    Defendant contacted or attempted to contact Plaintiff from telephone
24   number (954) 320-0431, (520) 445-4901, (929) 200-1493, (562) 285-6048.
25         11.    Defendant’s calls constituted calls that were not for emergency
26   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
27         12.    Defendant’s calls were placed to telephone number assigned to a
28   cellular telephone service for which Plaintiff incurs a charge for incoming calls


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 1   pursuant to 47 U.S.C. § 227(b)(1).
 2         13.    During all relevant times, Defendant did not possess Plaintiff’s “prior
 3   express consent” to receive calls using an automatic telephone dialing system or an
 4   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 5   227(b)(1)(A).
 6         14.    Further, Plaintiff’s cellular telephone number ending in -1636 and -
 7   5903 have been on the National Do-Not-Call Registry well over thirty (30) days
 8   prior to Defendant’s initial calls.
 9         15.    Defendant placed multiple calls soliciting its business to Plaintiff on
10   his cellular telephone numbers ending in -1636, -5903, -6147 beginning in or
11   around August 2016.
12         16.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
13   64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
14         17.    Plaintiff received numerous solicitation calls from Defendant within a
15   12-month period.
16         18.    Plaintiff requested for Defendant to stop calling Plaintiff during one
17   of the calls, from Defendant, on or around September 15, 2016, thus revoking any
18   prior express consent that had existed and terminating any established business
19   relationship that had existed, as defined under 16 C.F.R. 310.4(b)(1)(iii)(B).
20         19.    Despite this, Defendant continued to call Plaintiff in an attempt to
21   solicit its services and in violation of the National Do-Not-Call provisions of the
22   TCPA.
23         20.    Upon information and belief, and based on Plaintiff’s experiences of
24   being called by Defendant after requesting they stop calling, and at all relevant
25   times, Defendant failed to establish and implement reasonable practices and
26   procedures to effectively prevent telephone solicitations in violation of the
27   regulations prescribed under 47 U.S.C. § 227(c)(5).
28   ///


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 1                                CLASS ALLEGATIONS
 2         21.     Plaintiff brings this action individually and on behalf of all others
 3   similarly situated, as a member the four proposed classes (hereafter, jointly, “The
 4   Classes”). The class concerning the ATDS claim for no prior express consent
 5   (hereafter “The ATDS Class”) is defined as follows:
 6
                   All persons within the United States who received any
 7                 solicitation/telemarketing   telephone   calls    from
 8                 Defendant to said person’s cellular telephone made
                   through the use of any automatic telephone dialing
 9
                   system or an artificial or prerecorded voice and such
10                 person had not previously consented to receiving such
11
                   calls within the four years prior to the filing of this
                   Complaint
12
13         22.     The class concerning the ATDS claim for revocation of consent, to the
14   extent prior consent existed (hereafter “The ATDS Revocation Class”) is defined
15   as follows:
16
                   All persons within the United States who received any
17                 solicitation/telemarketing     telephone      calls    from
18                 Defendant to said person’s cellular telephone made
                   through the use of any automatic telephone dialing
19
                   system or an artificial or prerecorded voice and such
20                 person had revoked any prior express consent to receive
21                 such calls prior to the calls within the four years prior to
                   the filing of this Complaint.
22
23         23.     The class concerning the National Do-Not-Call violation (hereafter
24   “The DNC Class”) is defined as follows:
25
                   All persons within the United States registered on the
26
                   National Do-Not-Call Registry for at least 30 days, who
27                 had not granted Defendant prior express consent nor had
28                 a prior established business relationship, who received



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 1                more than one call made by or on behalf of Defendant
                  that promoted Defendant’s products or services, within
 2                any twelve-month period, within four years prior to the
 3                filing of the complaint.
 4         24.    The class concerning the National Do-Not-Call violation following
 5   revocation of consent and prior business relationship, to the extent they existed
 6   (hereafter “The DNC Revocation Class”) is defined as follows:
 7
                  All persons within the United States registered on the
 8                National Do-Not-Call Registry for at least 30 days, who
 9
                  received more than one call made by or on behalf of
                  Defendant that promoted Defendant’s products or
10                services, after having revoked consent and any prior
11                established business relationship, within any twelve-
                  month period, within four years prior to the filing of the
12                complaint.
13
14         25.    Plaintiff represents, and is a member of, The ATDS Class, consisting
15   of all persons within the United States who received any solicitation telephone calls
16   from Defendant to said person’s cellular telephone made through the use of any
17   automatic telephone dialing system or an artificial or prerecorded voice and such
18   person had not previously not provided their cellular telephone number to
19   Defendant within the four years prior to the filing of this Complaint.
20         26.    Plaintiff represents, and is a member of, The ATDS Revocation Class,
21   consisting of all persons within the United States who received any
22   solicitation/telemarketing telephone calls from Defendant to said person’s cellular
23   telephone made through the use of any automatic telephone dialing system or an
24   artificial or prerecorded voice and such person had revoked any prior express
25   consent to receive such calls prior to the calls within the four years prior to the
26   filing of this Complaint.
27         27.    Plaintiff represents, and is a member of, The DNC Class, consisting
28   of all persons within the United States registered on the National Do-Not-Call


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 1   Registry for at least 30 days, who had not granted Defendant prior express consent
 2   nor had a prior established business relationship, who received more than one call
 3   made by or on behalf of Defendant that promoted Defendant’s products or services,
 4   within any twelve-month period, within four years prior to the filing of the
 5   complaint.
 6         28.    Plaintiff represents, and is a member of, The DNC Revocation Class,
 7   consisting of all persons within the United States registered on the National Do-
 8   Not-Call Registry for at least 30 days, who received more than one call made by or
 9   on behalf of Defendant that promoted Defendant’s products or services, after
10   having revoked consent and any prior established business relationship, within any
11   twelve-month period, within four years prior to the filing of the complaint.
12         29.    Defendant, its employees and agents are excluded from The Classes.
13   Plaintiff does not know the number of members in The Classes, but believes the
14   Classes members number in the thousands, if not more. Thus, this matter should
15   be certified as a Class Action to assist in the expeditious litigation of the matter.
16         30.    The Classes are so numerous that the individual joinder of all of its
17   members is impractical. While the exact number and identities of The Classes
18   members are unknown to Plaintiff at this time and can only be ascertained through
19   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
20   The Classes includes thousands of members. Plaintiff alleges that The Classes
21   members may be ascertained by the records maintained by Defendant.
22         31.    Plaintiff and members of The ATDS Class and The ATDS Revocation
23   Class were harmed by the acts of Defendant in at least the following ways:
24   Defendant illegally contacted Plaintiff and ATDS Class members via their cellular
25   telephones thereby causing Plaintiff and ATDS Class and ATDS Revocation Class
26   members to incur certain charges or reduced telephone time for which Plaintiff and
27   ATDS Class and ATDS Revocation Class members had previously paid by having
28   to retrieve or administer messages left by Defendant during those illegal calls, and


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 1   invading the privacy of said Plaintiff and ATDS Class and ATDS Revocation Class
 2   members.
 3         32.    Common questions of fact and law exist as to all members of The
 4   ATDS Class which predominate over any questions affecting only individual
 5   members of The ATDS Class. These common legal and factual questions, which
 6   do not vary between ATDS Class members, and which may be determined without
 7   reference to the individual circumstances of any ATDS Class members, include,
 8   but are not limited to, the following:
 9                a.     Whether, within the four years prior to the filing of this
10                       Complaint, Defendant made any telemarketing/solicitation call
11                       (other than a call made for emergency purposes or made with
12                       the prior express consent of the called party) to a ATDS Class
13                       member using any automatic telephone dialing system or any
14                       artificial or prerecorded voice to any telephone number
15                       assigned to a cellular telephone service;
16                b.     Whether Plaintiff and the ATDS Class members were damaged
17                       thereby, and the extent of damages for such violation; and
18                c.     Whether Defendant should be enjoined from engaging in such
19                       conduct in the future.
20         33.    As a person that received numerous telemarketing/solicitation calls
21   from Defendant using an automatic telephone dialing system or an artificial or
22   prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
23   claims that are typical of The ATDS Class.
24         34.    Common questions of fact and law exist as to all members of The
25   ATDS Revocation Class which predominate over any questions affecting only
26   individual members of The ATDS Revocation Class. These common legal and
27   factual questions, which do not vary between ATDS Revocation Class members,
28   and which may be determined without reference to the individual circumstances of


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 1   any ATDS Revocation Class members, include, but are not limited to, the
 2   following:
 3                a.    Whether, within the four years prior to the filing of this
 4                      Complaint, Defendant made any telemarketing/solicitation call
 5                      (other than a call made for emergency purposes or made with
 6                      the prior express consent of the called party) to an ATDS
 7                      Revocation Class member, who had revoked any prior express
 8                      consent to be called using an ATDS, using any automatic
 9                      telephone dialing system or any artificial or prerecorded voice
10                      to any telephone number assigned to a cellular telephone
11                      service;
12                b.    Whether Plaintiff and the ATDS Revocation Class members
13                      were damaged thereby, and the extent of damages for such
14                      violation; and
15                c.    Whether Defendant should be enjoined from engaging in such
16                      conduct in the future.
17         35.    As a person that received numerous telemarketing/solicitation calls
18   from Defendant using an automatic telephone dialing system or an artificial or
19   prerecorded voice, after Plaintiff had revoked any prior express consent, Plaintiff
20   is asserting claims that are typical of The ATDS Revocation Class.
21         36.    Plaintiff and members of The DNC Class and DNC Revocation Class
22   were harmed by the acts of Defendant in at least the following ways: Defendant
23   illegally contacted Plaintiff and DNC Class and DNC Revocation Class members
24   via their telephones for solicitation purposes, thereby invading the privacy of said
25   Plaintiff and the DNC Class and DNC Revocation Class members whose telephone
26   numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
27   and DNC Revocation Class members were damaged thereby.
28         37.    Common questions of fact and law exist as to all members of The


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 1   DNC Class which predominate over any questions affecting only individual
 2   members of The DNC Class. These common legal and factual questions, which do
 3   not vary between DNC Class members, and which may be determined without
 4   reference to the individual circumstances of any DNC Class members, include, but
 5   are not limited to, the following:
 6                a.     Whether, within the four years prior to the filing of this
 7                       Complaint, Defendant or its agents placed more than one
 8                       solicitation call to the members of the DNC Class whose
 9                       telephone numbers were on the National Do-Not-Call Registry
10                       and who had not granted prior express consent to Defendant and
11                       did not have an established business relationship with
12                       Defendant;
13                b.     Whether Defendant obtained prior express written consent to
14                       place solicitation calls to Plaintiff or the DNC Class members’
15                       telephones;
16                c.     Whether Plaintiff and the DNC Class member were damaged
17                       thereby, and the extent of damages for such violation; and
18                d.     Whether Defendant and its agents should be enjoined from
19                       engaging in such conduct in the future.
20         38.    As a person that received numerous solicitation calls from Defendant
21   within a 12-month period, who had not granted Defendant prior express consent
22   and did not have an established business relationship with Defendant, Plaintiff is
23   asserting claims that are typical of the DNC Class.
24         39.    Common questions of fact and law exist as to all members of The
25   DNC Class which predominate over any questions affecting only individual
26   members of The DNC Revocation Class.             These common legal and factual
27   questions, which do not vary between DNC Revocation Class members, and which
28   may be determined without reference to the individual circumstances of any DNC


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 1   Revocation Class members, include, but are not limited to, the following:
 2                a.    Whether, within the four years prior to the filing of this
 3                      Complaint, Defendant or its agents placed more than one
 4                      solicitation call to the members of the DNC Class whose
 5                      telephone numbers were on the National Do-Not-Call Registry
 6                      and who had revoked any prior express consent and any
 7                      established business relationship with Defendant;
 8                b.    Whether Plaintiff and the DNC Class member were damaged
 9                      thereby, and the extent of damages for such violation; and
10                c.    Whether Defendant and its agents should be enjoined from
11                      engaging in such conduct in the future.
12         40.    As a person that received numerous solicitation calls from Defendant
13   within a 12-month period, who, to the extent one existed, had revoked any prior
14   express consent and any established business relationship with Defendant, Plaintiff
15   is asserting claims that are typical of the DNC Revocation Class.
16         41.    Plaintiff will fairly and adequately protect the interests of the members
17   of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
18   class actions.
19         42.    A class action is superior to other available methods of fair and
20   efficient adjudication of this controversy, since individual litigation of the claims
21   of all Classes members is impracticable. Even if every Classes member could
22   afford individual litigation, the court system could not. It would be unduly
23   burdensome to the courts in which individual litigation of numerous issues would
24   proceed. Individualized litigation would also present the potential for varying,
25   inconsistent, or contradictory judgments and would magnify the delay and expense
26   to all parties and to the court system resulting from multiple trials of the same
27   complex factual issues. By contrast, the conduct of this action as a class action
28   presents fewer management difficulties, conserves the resources of the parties and


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 1   of the court system, and protects the rights of each Classes member.
 2         43.     The prosecution of separate actions by individual Classes members
 3   would create a risk of adjudications with respect to them that would, as a practical
 4   matter, be dispositive of the interests of the other Classes members not parties to
 5   such adjudications or that would substantially impair or impede the ability of such
 6   non-party Class members to protect their interests.
 7         44.     Defendant has acted or refused to act in respects generally applicable
 8   to The Classes, thereby making appropriate final and injunctive relief with regard
 9   to the members of the Classes as a whole.
10                             FIRST CAUSE OF ACTION
11          Negligent Violations of the Telephone Consumer Protection Act
12                                    47 U.S.C. §227(b).
13               On Behalf of the ATDS Class and ATDS Revocation Class
14         45.     Plaintiff repeats and incorporates by reference into this cause of action
15   the allegations set forth above at Paragraphs 1-44.
16         46.     The foregoing acts and omissions of Defendant constitute numerous
17   and multiple negligent violations of the TCPA, including but not limited to each
18   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
19   47 U.S.C. § 227 (b)(1)(A).
20         47.     As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
21   Plaintiff and the Class Members are entitled an award of $500.00 in statutory
22   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
23         48.     Plaintiff and the ATDS Class and ATDS Revocation Class members
24   are also entitled to and seek injunctive relief prohibiting such conduct in the future.
25
26   ///
27   ///
28   ///


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 1                             SECOND CAUSE OF ACTION
 2    Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                           Act
 4                                   47 U.S.C. §227(b)
 5           On Behalf of the ATDS Class and the ATDS Revocation Class
 6         49.    Plaintiff repeats and incorporates by reference into this cause of action
 7   the allegations set forth above at Paragraphs 1-44.
 8         50.    The foregoing acts and omissions of Defendant constitute numerous
 9   and multiple knowing and/or willful violations of the TCPA, including but not
10   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
11   and in particular 47 U.S.C. § 227 (b)(1)(A).
12         51.    As a result of Defendant’s knowing and/or willful violations of 47
13   U.S.C. § 227(b), Plaintiff and the ATDS Class and ATDS Revocation Class
14   members are entitled an award of $1,500.00 in statutory damages, for each and
15   every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
16         52.    Plaintiff and the Class members are also entitled to and seek injunctive
17   relief prohibiting such conduct in the future.
18                             THIRD CAUSE OF ACTION
19          Negligent Violations of the Telephone Consumer Protection Act
20                                   47 U.S.C. §227(c)
21            On Behalf of the DNC Class and the DNC Revocation Class
22         53.    Plaintiff repeats and incorporates by reference into this cause of action
23   the allegations set forth above at Paragraphs 1-44.
24         54.    The foregoing acts and omissions of Defendant constitute numerous
25   and multiple negligent violations of the TCPA, including but not limited to each
26   and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
27   47 U.S.C. § 227 (c)(5).
28         55.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c),


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 1   Plaintiff and the DNC Class and DNC Revocation Class Members are entitled an
 2   award of $500.00 in statutory damages, for each and every violation, pursuant to
 3   47 U.S.C. § 227(c)(5)(B).
 4         56.    Plaintiff and the DNC Class and DNC Revocation Class members are
 5   also entitled to and seek injunctive relief prohibiting such conduct in the future.
 6                           FOURTH CAUSE OF ACTION
 7    Knowing and/or Willful Violations of the Telephone Consumer Protection
 8                                           Act
 9                                 47 U.S.C. §227 et seq.
10               On Behalf of the DNC Class and DNC Revocation Class
11         57.    Plaintiff repeats and incorporates by reference into this cause of action
12   the allegations set forth above at Paragraphs 1-44.
13         58.    The foregoing acts and omissions of Defendant constitute numerous
14   and multiple knowing and/or willful violations of the TCPA, including but not
15   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
16   in particular 47 U.S.C. § 227 (c)(5).
17         59.    As a result of Defendant’s knowing and/or willful violations of 47
18   U.S.C. § 227(c), Plaintiff and the DNC Class and DNC Revocation Class members
19   are entitled an award of $1,500.00 in statutory damages, for each and every
20   violation, pursuant to 47 U.S.C. § 227(c)(5).
21         60.    Plaintiff and the DNC Class and DNC Revocation Class members are
22   also entitled to and seek injunctive relief prohibiting such conduct in the future.
23                                PRAYER FOR RELIEF
24   WHEREFORE, Plaintiff requests judgment against Defendant for the following:
25                             FIRST CAUSE OF ACTION
26          Negligent Violations of the Telephone Consumer Protection Act
27                                   47 U.S.C. §227(b)
28                As a result of Defendant’s negligent violations of 47 U.S.C.


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 1             §227(b)(1), Plaintiff and the ATDS Class and ATDS Revocation
 2             Class members are entitled to and request $500 in statutory damages,
 3             for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B).
 4            Any and all other relief that the Court deems just and proper.
 5                       SECOND CAUSE OF ACTION
 6   Knowing and/or Willful Violations of the Telephone Consumer Protection
 7                                       Act
 8                               47 U.S.C. §227(b)
 9            As a result of Defendant’s willful and/or knowing violations of 47
10             U.S.C. §227(b)(1), Plaintiff and the ATDS Class and ATDS
11             Revocation Class members are entitled to and request treble damages,
12             as provided by statute, up to $1,500, for each and every violation,
13             pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
14            Any and all other relief that the Court deems just and proper.
15                        THIRD CAUSE OF ACTION
16       Negligent Violations of the Telephone Consumer Protection Act
17                               47 U.S.C. §227(c)
18            As a result of Defendant’s negligent violations of 47 U.S.C.
19             §227(c)(5), Plaintiff and the DNC Class and DNC Revocation Class
20             members are entitled to and request $500 in statutory damages, for
21             each and every violation, pursuant to 47 U.S.C. 227(c)(5).
22            Any and all other relief that the Court deems just and proper.
23                       FOURTH CAUSE OF ACTION
24   Knowing and/or Willful Violations of the Telephone Consumer Protection
25                                       Act
26                               47 U.S.C. §227(c)
27            As a result of Defendant’s willful and/or knowing violations of 47
28             U.S.C. §227(c)(5), Plaintiff and the DNC Class and DNC Revocation


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 1                Class members are entitled to and request treble damages, as provided
 2                by statute, up to $1,500, for each and every violation, pursuant to 47
 3                U.S.C. §227(c)(5).
 4                Any and all other relief that the Court deems just and proper.
 5         61.    Pursuant to the Seventh Amendment to the Constitution of the United
 6   States of America, Plaintiff is entitled to, and demands, a trial by jury.
 7
 8
 9         Respectfully Submitted this 22nd Day of January, 2018.
10                              LAW OFFICES OF TODD M. FRIEDMAN, P.C.
11
                                       By: /s/ Todd M. Friedman
12                                         Todd M. Friedman
13
                                           Law Offices of Todd M. Friedman
                                           Attorney for Plaintiff
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